                       Case 3:23-cv-01140-SB                Document 3        Filed 08/04/23     Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District
                                                    __________      of Oregon
                                                               District of __________

                         Brian Sommer
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 3:23-cv-1140
                                                                     )
        Regence BlueCross BlueShield of Oregon                       )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Regence BlueCross BlueShield of Oregon
                                           c/o Corporation Service Company
                                           1127 Broadway Street NE, Suite 310
                                           Salem, OR 97301




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Megan E. Glor
                                           Megan E. Glor, Attorneys at Law
                                           707 NE Knott Street, Suite 101
                                           Portland, OR 97212




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                 MELI
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                                                                                      SignatureNof,
                                                                                              IN, C ler
                                                                                                  Clerk
                                                                                                   Clerkk
                                                                                                        orofC our
                                                                                                          Deputy
                                                                                                          of      t
                                                                                                                 Clerk
                                                                                                             Court


     Date:
     Date: 08/04/2023
           _ _ _ _ _ __                                                          By: s/E.Potter, Deputy Clerk
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 Civil Action No. 3:23-cv-1140

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           0 I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           0 I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           0 I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           0 I returned the summons unexecuted because                                                                              ; or

           0 Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
